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              UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF TEXAS
                  FORT WORTH DIVISION


  Braidwood Management Inc., et al.,

                       Plaintiffs,
                                               Case No. 4:20-cv-00283-O
  v.

  Xavier Becerra, et al.,

                       Defendants.


                            NOTICE OF CROSS-APPEAL
       Plaintiffs Braidwood Management Inc., Kelley Orthodontics, John Kelley, Joel
 Starnes, Zach Maxwell, Ashley Maxwell, Gregory Scheideman, and Joel Miller appeal
 to the United States Court of Appeals for the Fifth Circuit from the final judgment
 entered on March 30, 2023 (ECF No. 114).

                                           Respectfully submitted.

                                            /s/ Jonathan F. Mitchell
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                          CERTIFICATE OF SERVICE
     I certify that on April 6, 2023, I served this document through CM/ECF upon:

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